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Approved:
            SARAHMORTAZAVI


Before:     HONORABLE SARAH NETBURN
            United States Magistrate Judge
            Southern District of New York

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                                                   SEALED COMPLAINT
UNITED STATES OF AMERICA
                                                   Violations of
     - v.   -                                      18   u.s.c.    §§   666,
                                                   1343   I   1349 & 2
MICHAEL HOLLINGSWORTH,
                                                   COUNTY OF OFFENSE:
                                                   NEW YORK
                      Defendant.

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SOUTHERN DISTRICT OF NEW YORK, ss.:

          KRISTA CORR, being duly sworn, deposes and says that
she is a Senior Special Agent with the National Railroad
Passenger Corporation's ("Amtrak's") Office of Inspector
General, and charges as follows:

                               COUNT ONE
                (Solicitation of Bribes and Gratuities)

          1.   In or about November 2017, in the Southern
District of New York and elsewhere, MICHAEL HOLLINGSWORTH, the
defendant, being an agent of an organization that received, in a
one-year period, benefits in excess of $10,000 under a Federal
program involving a grant, contract, subsidy, loan, guarantee,
insurance, and other form of federal assistance, to wit, a
subcontractor authorized to collect hair and urine samples for
Amtrak job applicants for the purpose of undergoing drug
testing, corruptly solicited and demanded for the benefit of a
person, and accepted and agreed to accept, a thing of value from
a person, intending to be influenced and rewarded in connection
with a business, transaction, and series of transactions of such
organization involving a thing of value of $5,000 and more, to
wit, HOLLINGSWORTH, in his capacity as a drug test sample
collector for Amtrak job applicants, solicited and accepted cash
from an Amtrak job applicant, intending to be influenced and
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rewarded to assist in falsifying the prospective employee's drug
test results so that the applicant would be hired by Amtrak.

  (Title 18, United States Code, Sections 666 (a) (1) (B) and 2.)

                               COUNT TWO
                              (Wire Fraud)

           2.  From at least in or about November 2017 through in
or about December 2017, in the Southern District of New York and
elsewhere, MICHAEL HOLLINGSWORTH, the defendant, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by means
of false and fraudulent pretenses, representations, and promises,
did transmit and cause to be transmitted by means of wire, radio,
and television communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds, for the purpose of
executing such scheme and artifice, to wit, in furtherance of a
scheme to falsify the results of a drug test for an Amtrak job
applicant, HOLLINGSWORTH caused a data file to be sent interstate
containing the results of a pre-employment drug test that
HOLLINGSWORTH had agreed to falsify by submitting the hair sample
of a person other than the job applicant.

           (Title 18, United States Code, Sections 1343 and 2.)

                            COUNT THREE
                 (Conspiracy to Commit Wire Fraud)

           3.  From at least in or about November 2017, up to
and including at least in or about December 2017, in the
Southern District of New York and elsewhere, MICHAEL
HOLLINGSWORTH, the defendant, and others known and unknown,
willfully and knowingly, did combine, conspire, confederate, and
agree together and with each other to commit wire fraud, in
violation of Title 18, United States Code, Section 1343.




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           4.   It was a part and object of the conspiracy that
MICHAEL HOLLINGSWORTH, the defendant, and others known and
unknown, willfully and knowingly, having devised and intending
to devise a scheme and artifice to defraud, and for obtaining
money and property by means of false and fraudulent pretenses,
representations and promises, would and did transmit and cause
to be transmitted by means of wire, radio, and television
communication in interstate and foreign commerce, writings,
signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, in violation of Title 18,
United States Code, Section 1343.

          (Title 18, United States Code, Section 1349.)

          The bases for my knowledge and for the foregoing
charges are, in part, as follows:

            5. I am a Senior Special Agent with Amtrak's Office
of Inspector General.  I have been personally involved in the
investigation of this matter, and I base this affidavit on that
experience, on my conversations with other law enforcement
officials and other witnesses, and on my examination of various
reports and records.  Because this affidavit is being submitted
for the limited purpose of demonstrating probable cause, it does
not include all the facts I have learned during the course of my
investigation. Where the contents of documents and the actions,
statements, and conversations of others are reported herein,
they are reported in substance and in part, except where
otherwise indicated.

           6. Based on my review of Amtrak contracts and my
discussions with Amtrak human resources representatives and
other lay witnesses, I have learned the following:

                a.  In or about 2011, Amtrak entered into a
contract (the "2011 Contract") with a drug testing company (the
"Contractor"), wherein the Contractor would function as a drug
test sample collector on Amtrak's behalf for, among others,
Amtrak job applicants.  The 2011 Contract has been renewed,
updated, and amended between in or about 2011 through in or
about January 2018.  From my review of the 2011 Contract and the
updates, amendments, and renewals operative as of in or about
November 2017, I have learned that the Contractor was authorized
to hire a subcontractor to collect samples from Amtrak job
applicants for the purpose of submitting those samples to a
national laboratory for drug testing.


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                b.  Based on my discussions with representatives
from Amtrak human resources and the Contractor, I have learned
that at least in or about July 2016, the Contractor
subcontracted with MICHAEL HOLLINGSWORTH, the defendant, for the
purpose of having a company that HOLLINGSWORTH owned and
operated, "Drugs Don't Work" ("DDW"), collect samples for drug
testing.

           7. Based on my conversations with an Amtrak job
applicant ("Witness-1") and my review of Witness-l's emails,
Amtrak human resources records, and other documents, I have
learned, among other things, the following:

               a.   In or around October 2017, Witness-1 applied
for a job as a baggage handler at Amtrak.  Following, among
other things, an in-person interview, Witness-1 was given a
conditional offer of employment with Amtrak as a baggage handler
on or around November 14, 2017.  The employment offer was
contingent upon Witness-l's completion of, among other things, a
drug test that required submission of Witness-l's hair sample.

               b.    On or around November 14, 2017, Witness-1
received an email from a representative of the Contractor
providing Witness-1 with the address and contact information for
MICHAEL HOLLINGSWORTH, the defendant, and DDW, directing
Witness-1 to contact HOLLINGSWORTH in order to set up an
appointment for HOLLINGSWORTH to collect a sample of Witness-l's
hair to submit to a national laboratory for drug testing in
connection with Amtrak's conditional offer of employment.

               c.   From my conversations with Witness-1, I have
learned that Witness-1 contacted HOLLINGSWORTH and scheduled an
appointment for Witness-l's hair sample collection on or about
November 21, 2017.

               d.   Witness-1 met with MICHAEL HOLLINGSWORTH,
the defendant, at a location in Manhattan, New York. At that
meeting, HOLLINGSWORTH collected a hair sample from Witness-1.
From my conversations with Witness-1, I have learned that during
this meeting, HOLLINGSWORTH asked Witness-1, in substance and in
part, whether Witness-1 had used drugs.  I have learned that
Witness-1 indicated,   in substance and in part,     that Witness-1
had used marijuana several months ago but believed there would
be no trace of drugs in Witness-l's hair sample. HOLLINGSWORTH
responded, in substance and in part, that residue from marijuana
remains in a user's hair for a number of months, and expressed
to Witness-1 that Witness-l's hair sample would test positive

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for narcotics. HOLLINGSWORTH then stated, in substance and in
part, that he would discard the hair sample Witness-1 had
provided, and that Witness-1 could return the following day with
a "clean" hair sample, namely, a hair sample that would not test
positive for drugs. HOLLINGSWORTH asked Witness-1, in substance
and in part, for payment in exchange for HOLLINGSWORTH agreeing
to submit the "clean" hair sample to the laboratory in place of
Witness-l's hair sample. Witness-1 agreed to return the
following day with a "clean" hair sample.

                e.  Following his meeting with HOLLINGSWORTH,
Witness-1 contacted his girlfriend ("Witness-2") regarding his
meeting. Witness-2 offered to bring her minor daughter ("Minor-
1") to HOLLINGSWORTH's office the following day for the purpose
of having HOLLINGSWORTH collect a "clean" hair sample from
Minor-1 and submit it in place of Witness-l's hair sample.

                f.  On or about November 22, 2017, Witness-1,
Witness-2, and Minor-1 met with HOLLINGSWORTH at a location in
Manhattan, New York. HOLLINGSWORTH collected a hair sample from
Minor-1 and filled out the chain of custody form associated with
that sample indicating that the sample had been collected from
Witness-1. Witness-1 paid HOLLINGSWORTH between $200 and $300
cash. HOLLINGSWORTH indicated at the meeting that he would send
Minor-l's hair sample to a national drug testing laboratory
("Lab-1") for testing.

           8.  From my discussions with representatives of Lab-
1, my discussions with Amtrak human resources personnel, and my
review of a chain of custody form associated with a hair sample
submitted to Lab-1 for testing by MICHAEL HOLLINGSWORTH, the
defendant, I have learned the following:

                a.  MICHAEL HOLLINGSWORTH, the defendant,
submitted hair sample from Minor-1 to Lab-1 for drug testing.
The chain of custody form associated with the hair sample listed
Witness-1 as the hair donor and "Michael Hollingsworth" as the
collector. The collection date was listed as November 22, 2017.

                b.    Lab-1 is located in Lenexa, Kansas.

                c.  In or about November 2017, Lab-1 forwarded
the lab test results from the hair sample MICHAEL HOLLINGSWORTH,
the defendant, submitted, electronically in a data file from
Lab-l's location in Lenexa, Kansas, to a Medical Review Officer
(the "MRO") located in Pennsylvania. The MRO analyzed the
results and issued a testing report indicating that the hair

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sample associated with Witness-1 and collected by "Michael
Hollingsworth" had tested positive for cocaine.

                d.  On or about December 1, 2017, Witness-1,
located in Manhattan, New York, received a phone call from the
MRO, located in Pennsylvania, stating that the hair sample
HOLLINGSWORTH had submitted on behalf of Witness-1 had tested
positive for a narcotic substance.

                e.  Thereafter, Amtrak rescinded Witness-l's
conditional job offer due to his positive drug test results.

                f.  On or about December 2, 2017, Witness-1
recorded a conversation between himself and MICHAEL
HOLLINGSWORTH, the defendant.   I have reviewed a copy of that
audio recording, in which HOLLINGSWORTH stated, in substance and
in part, the following:

                    i.     "I mean, we don't know why this
happened.   You saw how I packaged it. You know what it is.    I
can't, I can't explain this to you.    I can't explain this to you
at all.   I have no clue."

                     ii.      "We know what we did."

                    iii.      "[I] can't explain this in a court of
law."

                     iv.     "Let's ... test the baby again ... I'll pay
for it ... Let's test the baby and see if there is any, any type of
opiate in the baby's system. Because this don't make sense.
   [I won't] even        . put it in as a baby .       . We're gonna in
as you again."

           9. From my discussions with representatives of
Amtrak and from my review of legislative documents, I have
learned that Amtrak received over $10,000 in federal funds
pursuant to the Continuing Appropriations Act, 2018 and
Supplemental Appropriations for Disaster Relief Requirements
Act, 2017, Pub. L. No. 115-56, between on or about October 1,
2017 through on or about December 8, 2017.




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          WHEREFORE, I respectfully request that a warrant be
issued for the arrest of MICHAEL HOLLINGSWORTH, the defendant,
and that he be arrested, and imprisoned or bailed, as the case
may be.




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Sworn to before me this
     day of February, 2019



HON
                         JUDGE
SOUTHERN DISTRICT OF NEW YORK




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